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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

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8    UNITED STATES OF AMERICA,            No. 2:15-cr-39-GEB
9                   Plaintiff,            CLOSING JURY INSTRUCTIONS AND
                                          VERDICT FORM
10          v.
11   EMILIO LARA,
12                  Defendant.
13
                 A Minute Order issued on March 30, 2018, requiring each
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     party to propose desired jury instructions or modifications to
15
     previously transmitted instructions, if any, and             directed the
16
     United States to submit another proposed verdict form.             ECF No.
17
     112.    Attached are updated closing jury instructions and verdict
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     form, created after reviewing each party’s proposed changes.           The
19
     verdict form also reflects the judgment of acquittal on count 28
20
     by excluding it from the form.
21
                 The government proposes changes to Instruction Nos. 16
22
     and 22 in light of it having dropped some of the charges against
23
     Defendant.      Those   changes   are    incorporated   in   the   attached
24
     instructions, and Instruction No. 13 has been modified to effect
25
     the same changes.
26
                 Defendant requests additional language be included in
27
     Instruction No. 12, which the Ninth Circuit Model Criminal Jury
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1    Instructions (“Model Instructions”) includes as optional language

2    in brackets.      Specifically, Defendant requests the instruction

3    read:

4               You have heard evidence that the defendant
                committed other acts not charged here. You
5               may consider this evidence only for its
                bearing, if any, on the question of the
6               defendant’s    intent,    plan,    knowledge,
                identity, absence of mistake, or absence of
7               accident, and for no other purpose. You may
                not consider this evidence as evidence of
8               guilt of the crime for which the defendant is
                now on trial.
9

10   Def’s Proposed Closing Jury Instructions at 3:2–6, ECF No. 114.

11   The last sentence of what Defendant proposes need not be included

12   since    the    “instruction       [without     the      bracketed       language],

13   considered as a whole, accurately and clearly state[s] the law.”

14   United States v. Lloyd, 807 F.3d 1128, 1167 (9th Cir. 2015).                      The

15   instruction as written adequately prescribes that the jury may

16   consider the referenced evidence only for its bearing, if any, on

17   specified propositions.        However, the language of the instruction

18   will be changed to omit that the other acts evidence may be used

19   to show a plan, in light of how this word could be construed and

20   the present trial record evincing that a “scheme” is not involved
21   in the charges.      This exclusion is in light of the Webster’s II

22   New   College   Dictionary     definition      of    the       word   “plan,”   which

23   includes the following: “A detailed scheme, program, or method

24   worked   out    beforehand   for    the    accomplishment         of    an   object.”

25   Plan, Webster’s II New College Dictionary (1995).

26              Defendant     also       includes        as     a     replacement     for
27   Instruction No. 15 what appears to be a good faith instruction as

28   to facts and law.      Defendant proposes the jury be instructed:
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1               In order to prove that the defendant acted
                “willfully,” the government must prove beyond
2               a reasonable doubt that the defendant knew
                federal tax law imposed a duty on him, and
3               the defendant intentionally and voluntarily
                violated that duty. To act willfully in this
4               context is not to merely act ignorantly, but
                to act with a bad purpose or evil motive. The
5               defendant may not be convicted if you find he
                merely acted with recklessness, negligence,
6               carelessness, or mistake, nor if he acted
                innocently, nor even if he acted with gross
7               negligence or gross carelessness. Rather, to
                be convicted, the defendant must have acted
8               with criminal or evil intent.

9               A defendant who acts on a good faith
                misunderstanding as to the existence or
10              nonexistence of facts does not act willfully,
                even if his understanding is wrong or
11              unreasonable. Thus, in order to prove that
                the defendant acted willfully, the government
12              must prove beyond a reasonable doubt that the
                defendant knew the return he advised or
13              procured the preparation of included a false
                statement.
14
                A defendant who acts on a good faith
15              misunderstanding as to the requirements of
                the law also does not act willfully, even if
16              his understanding of the law is wrong or
                unreasonable.       Nevertheless,     merely
17              disagreeing with the law does not constitute
                a good faith misunderstanding of the law
18              because all persons have a duty to obey the
                law whether or not they agree with it. Thus,
19              in order to prove that the defendant acted
                willfully, the government must also prove
20              beyond a reasonable doubt that the defendant
                did not have a good faith belief that he was
21              complying with the law.

22              In short, good faith is an absolute defense
                to the charges in this case. A defendant is
23              under no burden to prove his good faith;
                rather the prosecution must prove that the
24              defendant knew the expenses or deductions
                were false or fraudulent. The defendant
25              cannot be convicted unless he knew the
                expenses or deductions he is found to have
26              inputted were false or fraudulent.
27   Def’s Proposed Closing Jury Instructions at 5:2–26.

28              Defendant’s     proposed       Instruction   No.   15   contains
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1    unexplained legal terms and includes good faith instructions that

2    need not be given here.          The Comment to Ninth Circuit Model

3    Instruction 9.42, on which the Court’s Instruction No. 13 is

4    based, cites United States v. Hickey, in which the Ninth Circuit

5    states: “[O]ur case law is well settled that a criminal defendant

6    has no right to any good faith instruction when the jury has been

7    adequately instructed with regard to the intent required to be

8    found guilty of the crime charged . . . .”             580 F.3d 922, 931

9    (9th Cir. 2009) (quoting United States v. Shipsey, 363 F.3d 962,

10   967 (9th Cir. 2004)).        This is true “notwithstanding the normal

11   rules governing ‘theory of defense’ requests.”          Shipsey, 363 F.3d

12   at 967.        Since the instruction adequately instructs with regard

13   to the intent required to be found guilty of the charged crimes,

14   Defendant’s proposed changes are rejected.

15                  Defendant also proposes including in Instruction No. 19

16   “profession, occupation, or economic circumstances” to the list

17   of attributes contained in the final sentence of the provided

18   instruction.       This change has been made.     Following those words,

19   Defendant proposes adding two sentences the subject matter of

20   which     is    already   adequately   captured   by    the   instruction;
21   therefore, this proposal is rejected.

22                  Defendant urges the inclusion of his Instruction No. 24

23   regarding eyewitness identification.

24                  Generally, the Ninth Circuit has not required
                    a cautionary instruction regarding eyewitness
25                  testimony. See People of the Territory of
                    Guam v. Dela Rosa, 644 F.2d 1257, 1261 (9th
26                  Cir. 1981); United States v. Cassasa, 588
                    F.2d 282, 285 (9th Cir. 1978). Since 1989,
27                  the Committee has recommended against the
                    giving   of   an  eyewitness   identification
28                  instruction because it believes that the
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1                general witness         credibility    instruction      is
                 sufficient.
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3    Comment, Model Instruction 4.11.            Therefore, Defendant’s proposed

4    instruction will not be given.

5                Finally,      Defendant         proposes     inclusion       of   his

6    Instruction No. 25, admonishing the jury not to be exposed to

7    outside   information.         An   initial    jury    instruction   adequately

8    instructs   the   jury    on    this   matter.         Therefore,    Defendant’s

9    proposed Instruction No. 25 will not be given.

10               Dated:     April 3, 2018

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                           CLOSING JURY INSTRUCTIONS
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1                                        INSTRUCTION NO. 1

2                  Members of the jury, now that you have heard all the

3    evidence, it is my duty to instruct you on the law that applies

4    to   this     case.         Each   of     you   now    possesses       a   copy   of   these

5    instructions that you may take with you into the jury room to

6    consult if you desire.

7                  It     is    your    duty    to   weigh       and   to   evaluate    all   the

8    evidence received in the case and, in that process, to decide the

9    facts.      It is also your duty to apply the law as I give it to you

10   to the facts as you find them, whether you agree with the law or

11   not.

12                 You must decide the case solely on the evidence and the

13   law.     Do    not        allow    personal         likes    or   dislikes,       sympathy,

14   prejudice, fear, or public opinion to influence you.                              You will

15   recall that you took an oath promising to do so at the beginning

16   of the case.

17                 You must follow all these instructions and not single

18   out some and ignore others; they are all important. Please do not

19   read into these instructions or into anything I may have said or

20   done any suggestion as to what verdict you should return – that
21   is a matter entirely up to you.

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1                                  INSTRUCTION NO. 2

2                 The    indictment   is   not      evidence.      The   defendant   has

3    pleaded not guilty to the charges.               The defendant is presumed to

4    be innocent unless and until the government proves the defendant

5    guilty beyond a reasonable doubt.                 In addition, the defendant

6    does   not   have    to   testify     or    present   any     evidence   to   prove

7    innocence.         The   government    has     the   burden    of   proving   every

8    element of the charges beyond a reasonable doubt.

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1                                INSTRUCTION NO. 3

2               [A defendant in a criminal case has a constitutional

3    right not to testify.         In arriving at your verdict, the law

4    prohibits you from considering in any manner that the defendant

5    did not testify.]

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7               OR

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9               [The defendant has testified.          You should treat this

10   testimony just as you would the testimony of any other witness.]

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1                                  INSTRUCTION NO. 4

2                 Proof beyond a reasonable doubt is proof that leaves

3    you firmly convinced the defendant is guilty. It is not required

4    that the government prove guilt beyond all possible doubt.

5                 A reasonable doubt is a doubt based upon reason and

6    common sense and is not based purely on speculation. It may arise

7    from a careful and impartial consideration of all the evidence,

8    or from lack of evidence.

9                 If after a careful and impartial consideration of all

10   the evidence, you are not convinced beyond a reasonable doubt

11   that   the   defendant   is   guilty,       it   is   your   duty   to   find   the

12   defendant not guilty. On the other hand, if after a careful and

13   impartial consideration of all the evidence, you are convinced

14   beyond a reasonable doubt that the defendant is guilty, it is

15   your duty to find the defendant guilty.

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1                               INSTRUCTION NO. 5

2              The evidence you are to consider in deciding what the

3    facts are consists of:

4                    the sworn testimony of any witness;

5                    the exhibits received in evidence; and

6                    any facts to which the parties have agreed.

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1                                       INSTRUCTION NO. 6

2              In       reaching    your    verdict    you   may   consider   only    the

3    testimony and exhibits received in evidence. The following things

4    are not evidence and you may not consider them in deciding what

5    the facts are:

6                       Questions, statements, objections, and arguments

7                        by the lawyers are not evidence. The lawyers are

8                        not     witnesses.     Although     you    must   consider    a

9                        lawyer’s questions to understand the answers of a

10                       witness, the lawyer’s questions are not evidence.

11                       Similarly, what the lawyers have said in their

12                       opening statements, closing arguments and at other

13                       times     is    intended     to   help    you   interpret    the

14                       evidence, but it is not evidence. If the facts as

15                       you remember them differ from the way the lawyers

16                       state them, your memory of them controls.

17                      Any testimony that I have excluded, stricken, or

18                       instructed you to disregard is not evidence. In

19                       addition, some evidence was received only for a

20                       limited purpose; when I have instructed you to
21                       consider certain evidence in a limited way, you

22                       must do so.

23                      Anything you may have seen or heard when the court

24                       was not in session is not evidence. You are to

25                       decide the case solely on the evidence received at

26                       the trial.
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1                                    INSTRUCTION NO. 7

2               Evidence       may     be        direct      or    circumstantial.         Direct

3    evidence   is    direct    proof       of    a    fact,      such   as    testimony    by    a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial     evidence       is    indirect        evidence,        that   is,   it    is

6    proof of one or more facts from which you can find another fact.

7               You    are     to    consider         both   direct      and    circumstantial

8    evidence. Either can be used to prove any fact. The law makes no

9    distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

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1                                INSTRUCTION NO. 8

2              In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe. You may believe everything a witness says, or part of

5    it, or none of it.

6              In considering the testimony of any witness, you may

7    take into account:

8                    the witness’s opportunity and ability to see or

9                     hear or know the things testified to;

10                   the witness’s memory;

11                   the witness’s manner while testifying;

12                   the witness’s interest in the outcome of the case,

13                    if any;

14                   the witness’s bias or prejudice, if any;

15                   whether other evidence contradicted the witness’s

16                    testimony;

17                   the reasonableness of the witness’s testimony in

18                    light of all the evidence; and

19                   any other factors that bear on believability.

20             The    weight    of   the   evidence   as   to   a   fact   does   not
21   necessarily depend on the number of witnesses who testify. What

22   is important is how believable the witnesses were, and how much

23   weight you think their testimony deserves.

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1                                  INSTRUCTION NO. 9

2                  You are here only to determine whether the defendant is

3    guilty   or    not   guilty   of   the   charges   in   the   indictment.   The

4    defendant is not on trial for any conduct or offense not charged

5    in the indictment.

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1                               INSTRUCTION NO. 10

2              A separate crime is charged against the defendant in

3    each count. You must decide each count separately. Your verdict

4    on one count should not control your verdict on any other count.

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1                               INSTRUCTION NO. 11

2              The Spanish language has been used during this trial.

3              The evidence you are to consider is only that provided

4    through the official court interpreters and translators. Although

5    some of you may know the Spanish language, it is important that

6    all jurors consider the same evidence. Therefore, you must accept

7    the   evidence   presented     in   the    English    interpretation   or

8    translation and disregard any different meaning.

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1                               INSTRUCTION NO. 12

2              You have heard evidence that the defendant committed

3    other acts not charged here. You may consider this evidence only

4    for its bearing, if any, on the question of Defendant’s intent,

5    knowledge,   identity,    absence    of   mistake    and/or   absence   of

6    accident and for no other purpose.

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1                               INSTRUCTION NO. 13

2              The defendant is charged in each count with aiding,

3    assisting, advising, procuring, or counseling the preparation of

4    a false income tax return in violation of Section 7206(2) of

5    Title 26 of the United States Code. In order for Defendant to be

6    found guilty of each charge, the government must prove each of

7    the following elements beyond a reasonable doubt:

8              First, Defendant aided, assisted, advised, procured, or

9    counseled a taxpayer in the preparation or presentation of an

10   income tax return that was false or fraudulent;

11             Second, the income tax return was false or fraudulent

12   as to any material matter necessary to a determination of whether

13   income tax was owed; and

14             Third, the defendant acted willfully.

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16             The     government   is    not    required   to   prove   that   the

17   taxpayer knew that the return was false.

18             A matter is material if it had a natural tendency to

19   influence,   or   was   capable     of    influencing,   the   decisions   or

20   activities of the Internal Revenue Service.
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1                               INSTRUCTION NO. 14

2              Some   counts   in   the   indictment   charge   that    multiple

3    items on a particular tax return are materially false.                  The

4    government is not required to prove that all of the items alleged

5    as to a particular tax return are materially false.            Proof of a

6    violation of Section 7206(2) for one of the alleged items is

7    sufficient to find the defendant guilty on that count.

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1                                 INSTRUCTION NO. 15

2               In order to prove that Defendant acted “willfully,” the

3    government must prove beyond a reasonable doubt that Defendant

4    knew   federal   tax   law   imposed    a   duty   on   him,   and   Defendant

5    intentionally and voluntarily violated that duty.

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1                               INSTRUCTION NO. 16

2              The indictment charges that the offenses alleged in

3    each of the counts were committed “on or about,” certain dates.

4              Although it is necessary for the government to prove

5    beyond a reasonable doubt that the offenses were committed on

6    dates reasonably near the dates alleged in each of the counts of

7    the   indictment,    respectively,    it   is   not   necessary    for   the

8    government to prove that the offenses were committed precisely on

9    the dates charged.

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1                               INSTRUCTION NO. 17

2               You   have   heard    testimony     that   the   defendant    made    a

3    statement.    It is for you to decide whether the defendant made

4    the statement, and if so, how much weight to give to it.                        In

5    making   those   decisions,     you   should   consider     all   the   evidence

6    about the statement, including the circumstances under which the

7    defendant may have made it.

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1                                       INSTRUCTION NO. 18

2                   You    heard    testimony      from     [name     of    witnesses]   who

3    testified to opinions and the reasons for their opinions. This

4    opinion    testimony          is   allowed        because   of   the    education   or

5    experience of these witnesses.

6                   Such opinion testimony should be judged like any other

7    testimony. You may accept it or reject it, and give it as much

8    weight    as    you    think       it   deserves,     considering       the   witness’s

9    education and experience, the reasons given for the opinion, and

10   all the other evidence in the case.

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1                                       INSTRUCTION NO. 19

2                 When you begin your deliberations, elect one member of

3    the   jury    as       your       foreperson     who    will      preside     over     the

4    deliberations and speak for you here in court.

5                 You will then discuss the case with your fellow jurors

6    to reach agreement if you can do so. Your verdict, whether guilty

7    or not guilty, must be unanimous.

8                 Each of you must decide the case for yourself, but you

9    should do so only after you have considered all the evidence,

10   discussed it fully with the other jurors, and listened to the

11   views of your fellow jurors.

12                Do    not      be    afraid    to   change       your   opinion    if     the

13   discussion persuades you that you should. But do not come to a

14   decision simply because other jurors think it is right.

15                It is important that you attempt to reach a unanimous

16   verdict but, of course, only if each of you can do so after

17   having made your own conscientious decision. Do not change an

18   honest belief about the weight and effect of the evidence simply

19   to reach a verdict.

20                Perform these duties fairly and impartially.                        Do not
21   allow personal likes or dislikes, sympathy, prejudice, fear, or

22   public   opinion       to     influence     you.        You     should   also    not    be

23   influenced        by   any       person’s   race,      color,    religion,      national

24   ancestry,         gender,         profession,       occupation,          or     economic

25   circumstances.

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1                                INSTRUCTION NO. 20

2                  Some of you have taken notes during the trial.              Whether

3    or not you took notes, you should rely on your own memory of what

4    was said.      Notes are only to assist your memory.           You should not

5    be   overly    influenced   by   your    notes   or   those   of   your    fellow

6    jurors.

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1                               INSTRUCTION NO. 21

2              The punishment provided by law for this crime is for

3    the court to decide.     You may not consider punishment in deciding

4    whether the government has proved its case against the defendant

5    beyond a reasonable doubt.

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1                               INSTRUCTION NO. 22

2                 A verdict form has been prepared for you.        The verdict

3    form includes a separate section for each of the counts.              After

4    you   have    reached   unanimous   agreement     on   a   verdict,   your

5    foreperson should complete the verdict form according to your

6    deliberations, sign and date it, and advise the Court Security

7    Officer that you are ready to return to the courtroom.

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1                                  INSTRUCTION NO. 23

2                If it becomes necessary during your deliberations to

3    communicate      with   me,   you   may    send    a   note    through   the      Court

4    Security Officer, signed by any one or more of you.                   No member of

5    the jury should ever attempt to communicate with me except by a

6    signed writing, and I will respond to the jury concerning the

7    case only in writing or here in open court.                    If you send out a

8    question, I will consult with the lawyers before answering it,

9    which may take some time.            You may continue your deliberations

10   while waiting for the answer to any question.                   Remember that you

11   are   not   to   tell   anyone,     including      me,   how    the   jury   stands,

12   numerically      or   otherwise,    on    any     question     submitted     to    you,

13   including the question of the guilt of the defendant, until after

14   you have reached a unanimous verdict or have been discharged.

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                                   VERDICT FORM
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3
                          UNITED STATES DISTRICT COURT
4
                         EASTERN DISTRICT OF CALIFORNIA
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6
     UNITED STATES OF AMERICA,            No. 2:15-cr-39-GEB
7
                    Plaintiff,
8
          v.                              VERDICT FORM
9
     EMILIO LARA,
10
                    Defendant.
11

12             WE, THE JURY, UNANIMOUSLY FIND THE DEFENDANT, EMILIO

13   LARA, AS FOLLOWS:

14

15   AS TO COUNT 1 OF THE INDICTMENT:

16   GUILTY         NOT GUILTY
                                    Aiding     or    Assisting    in   the
17                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
18                                  Return, in violation of Title 26
                                    United States Code, Section 7206(2),
19                                  with   respect    to   deductions  for
                                    medical    and   dental   expenses  or
20                                  unreimbursed employee expenses on the
                                    tax return for tax year 2008 for
21                                  Ramiro Fuentes, on or about January
                                    26, 2009
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 32 of 39

1    AS TO COUNT 2 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with respect to deductions for gifts
                                    to charity by cash or check or
6                                   unreimbursed employee expenses on the
                                    tax return for tax year 2008 for
7                                   Sonia Ortega, on or about January 30,
                                    2009
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     AS TO COUNT 3 OF THE INDICTMENT:
10
     GUILTY        NOT GUILTY
11                                  Aiding     or    Assisting    in  the
                                    Preparation or Presentation of a
12                                  False   or    Fraudulent   Income Tax
                                    Return, in violation of Title 26,
13                                  United States Code, Section 7206(2),
                                    with   respect    to   deductions for
14                                  unreimbursed employee expenses on the
                                    tax return for tax year 2008 for
15                                  Alvino Corral, on or about February
                                    6, 2009
16

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     AS TO COUNT 4 OF THE INDICTMENT:
18
     GUILTY        NOT GUILTY
19                                  Aiding     or    Assisting    in   the
                                    Preparation or Presentation of a
20                                  False   or    Fraudulent   Income  Tax
                                    Return, in violation of Title 26,
21                                  United States Code, Section 7206(2),
                                    with   respect    to   deductions  for
22                                  medical and dental expenses, gifts to
                                    charity    by   cash   or   check,  or
23                                  unreimbursed employee expenses on the
                                    tax return for tax year 2008 for Jose
24                                  Sosa, on or about February 15, 2009
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 33 of 39

1    AS TO COUNT 6 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with respect to deductions for gifts
                                    to charity by cash or check or
6                                   unreimbursed employee expenses on the
                                    tax return for tax year 2008 for Jose
7                                   Gonzalez, on or about February 19,
                                    2009
8

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     AS TO COUNT 8 OF THE INDICTMENT:
10
     GUILTY        NOT GUILTY
11                                  Aiding     or    Assisting    in   the
                                    Preparation or Presentation of a
12                                  False   or    Fraudulent   Income  Tax
                                    Return, in violation of Title 26,
13                                  United States Code, Section 7206(2),
                                    with   respect    to   deductions  for
14                                  medical    and   dental   expenses  or
                                    unreimbursed employee expenses on the
15                                  tax return for tax year 2008 for
                                    Daniel Preciado, on or about February
16                                  28, 2009
17

18   AS TO COUNT 10 OF THE INDICTMENT:
19   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
20                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
21                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
22                                  with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
23                                  charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
24                                  tax return for tax year 2008 for
                                    Jesus Fernandez Espinoza, on or about
25                                  March 9, 2009
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 34 of 39

1    AS TO COUNT 12 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with respect to deductions for gifts
                                    to charity by cash or check or
6                                   unreimbursed employee expenses on the
                                    tax return for tax year 2008 for
7                                   Justo Garcia, on or about March 14,
                                    2009
8

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     AS TO COUNT 14 OF THE INDICTMENT:
10
     GUILTY        NOT GUILTY
11                                  Aiding     or    Assisting    in  the
                                    Preparation or Presentation of a
12                                  False   or    Fraudulent   Income Tax
                                    Return, in violation of Title 26,
13                                  United States Code, Section 7206(2),
                                    with respect to deductions for gifts
14                                  to charity by cash or check or
                                    unreimbursed employee expenses on the
15                                  tax return for tax year 2009 for
                                    Alvino Corral, on or about January
16                                  23, 2010
17

18   AS TO COUNT 15 OF THE INDICTMENT:
19   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
20                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
21                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
22                                  with   respect    to   deductions  for
                                    medical    and   dental   expenses  or
23                                  unreimbursed employee expenses on the
                                    tax return for tax year 2009 for
24                                  Ramiro Fuentes, on or about January
                                    25, 2010
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1    AS TO COUNT 17 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
6                                   charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
7                                   tax return for tax year 2009 for
                                    Jesus Fernandez Espinoza, on or about
8                                   February 10, 2010
9

10   AS TO COUNT 19 OF THE INDICTMENT:
11   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
12                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
13                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
14                                  with respect to deductions for gifts
                                    to charity by cash or check or
15                                  unreimbursed employee expenses on the
                                    tax return for tax year 2009 for
16                                  Justo Garcia, on or about February
                                    10, 2010
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     AS TO COUNT 21 OF THE INDICTMENT:
19
     GUILTY          NOT GUILTY
20                                    Aiding   or    Assisting   in   the
                                      Preparation or Presentation of a
21                                    False or Fraudulent Income Tax
                                      Return, in violation of Title 26,
22                                    United    States    Code,   Section
                                      7206(2), with respect to deductions
23                                    for medical and dental expenses,
                                      gifts to charity by cash or check,
24                                    or unreimbursed employee expenses
                                      on the tax return for tax year 2009
25                                    for Juan Luis Chavez, on or about
                                      February 15, 2010
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 36 of 39

1    AS TO COUNT 22 OF THE INDICTMENT:

2    GUILTY          NOT GUILTY
                                      Aiding    or    Assisting  in   the
3                                     Preparation or Presentation of a
                                      False or Fraudulent Income Tax
4                                     Return, in violation of Title 26,
                                      United     States    Code,  Section
5                                     7206(2), with respect to deductions
                                      for gifts to charity by cash or
6                                     check   or    unreimbursed employee
                                      expenses on the tax return for tax
7                                     year 2009 for Sonia Ortega, on or
                                      about February 19, 2010
8

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     AS TO COUNT 23 OF THE INDICTMENT:
10
     GUILTY        NOT GUILTY
11                                  Aiding     or    Assisting    in  the
                                    Preparation or Presentation of a
12                                  False   or    Fraudulent   Income Tax
                                    Return, in violation of Title 26,
13                                  United States Code, Section 7206(2),
                                    with respect to deductions for gifts
14                                  to charity by cash or check or
                                    unreimbursed employee expenses on the
15                                  tax return for tax year 2009 for
                                    Daniel Preciado, on or about February
16                                  23, 2010
17

18   AS TO COUNT 25 OF THE INDICTMENT:
19   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
20                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
21                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
22                                  with respect to deductions for gifts
                                    to charity by cash or check or
23                                  unreimbursed employee expenses on the
                                    tax return for tax year 2009 for
24                                  Eduardo Ortega, on or about March 2,
                                    2010
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1    AS TO COUNT 27 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
6                                   charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
7                                   tax return for tax year 2009 for
                                    Edward Dayrit, on or about March 20,
8                                   2010
9

10   AS TO COUNT 29 OF THE INDICTMENT:
11   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
12                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
13                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
14                                  with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
15                                  charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
16                                  tax return for tax year 2009 for Jose
                                    Sosa, on or about March 27, 2010
17

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     AS TO COUNT 31 OF THE INDICTMENT:
19
     GUILTY        NOT GUILTY
20                                  Aiding     or    Assisting    in  the
                                    Preparation or Presentation of a
21                                  False   or    Fraudulent   Income Tax
                                    Return, in violation of Title 26,
22                                  United States Code, Section 7206(2),
                                    with respect to deductions for gifts
23                                  to charity by cash or check or
                                    unreimbursed employee expenses on the
24                                  tax return for tax year 2010 for
                                    Justo Garcia, on or about January 14,
25                                  2011
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 38 of 39

1    AS TO COUNT 32 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in  the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with   respect    to   deductions for
                                    unreimbursed employee expenses on the
6                                   tax return for tax year 2010 for
                                    Sonia Ortega, on or about February
7                                   18, 2011
8

9    AS TO COUNT 33 OF THE INDICTMENT:
10   GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
11                                  Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
12                                  Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
13                                  with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
14                                  charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
15                                  tax return for tax year 2010 for Juan
                                    Luis Chavez, on or about February 18,
16                                  2011
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     Case 2:15-cr-00039-GEB Document 126 Filed 04/04/18 Page 39 of 39

1    AS TO COUNT 36 OF THE INDICTMENT:

2    GUILTY        NOT GUILTY
                                    Aiding     or    Assisting    in   the
3                                   Preparation or Presentation of a
                                    False   or    Fraudulent   Income  Tax
4                                   Return, in violation of Title 26,
                                    United States Code, Section 7206(2),
5                                   with   respect    to   deductions  for
                                    medical and dental expenses, gifts to
6                                   charity    by   cash   or   check,  or
                                    unreimbursed employee expenses on the
7                                   tax return for tax year 2010 for Jose
                                    Sosa, on or about March 7, 2011
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